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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                  www.flsb.uscourts.gov

 In re:                                                 Case No.: 18-14821-LMI

 WILL ZAMORA,                                           Chapter 7

           Debtor.
                                                /

        TRUSTEE’S MOTION TO COMPEL ALFARO & FERNANDEZ, P.A.
    TO PRODUCE ALL DOCUMENTS RESPONSIVE TO TRUSTEE’S SUBPOENA

          Ross Hartog (the “Trustee”), as Trustee in Bankruptcy for Will Zamora (the “Debtor”),
through undersigned counsel, submits his Motion to Compel Alfaro & Fernandez, P.A. (“Alfaro”)
to Produce All Documents Responsive to the Trustee’s Subpoena, and states:
          1.     On April 9, 2019, the Trustee served a document subpoena (the “Subpoena”) on
Alfaro [ECF 121, pp. 17-19] requesting the production of three categories of documents:
                 1. All documents and other electronic or paper materials reflecting any
                    email address, physical address, phone number, billing address, or
                    contact information for Janet Zamora and/or Will Zamora;

                 2. All documents and other electronic or paper materials reflecting the
                    source of payments made to Alfaro & Fernandez, P.A. by or for the
                    benefit of Janet Zamora and/or Will Zamora;

                 3. All emails, texts, or other communications (non-privileged or redacted)
                    between Alfaro & Fernandez, P.A. and Janet Zamora and/or Will
                    Zamora. A privilege log is not required at this time.

          2.     Alfaro is a law firm that represented the Debtor in the various state court actions
pending between the Debtor and Timothy Mosley, a creditor in this case, just prior to the Debtor
filing this bankruptcy. The Trustee served the Subpoena to ascertain contact information and
potential asset locations of the Debtor. Janet Zamora is the Debtor’s wife who was actively
involved in the litigation and was involved in the payment of some of the Debtor’s obligations
during this time.




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       3.      On April 22, 2019, Alfaro served a Response to the Subpoena, which is attached as
Exhibit “A.” The Response does not reference or address #3 above. The Response objects to #1
and #2 on the same grounds: “The Florida Bar does not allow the disclosure of these documents
without court order.”
       4.      The Trustee is not aware of any Florida Bar Rule or Regulation that requires an
order of any court in order for a law firm to produce the documents requested in the Subpoena’s
categories #1 and #2. The documents requested in #1 and #2 do not implicate the providing or
communication of legal advice. Alfaro has raised no objection to the Subpoena’s Category #3,
which the Trustee tailored to not request any privileged information. In any event, Alfaro has
waived any objection to #3. Alfaro’s objection to categories #1 and #2 do not provide any grounds
for not producing all responsive documents.
       5.      The Trustee accordingly asks the Court to compel Alfaro to produce all documents
responsive to the Subpoena.
       WHEREFORE Ross Hartog, as Trustee in Bankruptcy for Will Zamora, prays this
Honorable Court will grant his Motion to Compel Alfaro & Fernandez, P.A. to Produce All
Documents Responsive to Trustee’s Subpoena, order Alfaro to produce all documents responsive
to the Subpoena, and granting such other relief as the Court deems just and proper.
       I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for
the Southern District of Florida, and I am in compliance with the additional qualifications to
practice in this Court as set forth in Local Rule 2090-1(A).
       I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to
the parties listed below in the manner indicated, on this the 22nd day of April, 2019.
                                              STEVEN FENDER P.A.

                                              /s/ G. Steven Fender
                                              G. STEVEN FENDER, ESQ.
                                              Florida Bar No. 060992
                                              Attorney for Ross Hartog
                                              P.O. Box 1545
                                              Ft. Lauderdale, FL 33302
                                              Telephone: (407) 810-2458
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      Office of the U.S. Trustee          USTPRegion21.MM.ECF@usdoj.gov
      Ross Hartog, Trustee

Will Zamora
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Miami, FL 33136-3545
And

Via Electronic Mail
wzamora@bsuniverse.com

Alfaro & Fernandez, P.A.
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                EXHIBIT "A"
